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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND


            Gerard J. Harry, et al.                 *

                                                     *
                          vs.                                   Civil Action No. BPG-11-1609
                                                     *
         Walgreen Company, et al.
                                                     *

                                   Defendants        *

                                                 ********


                                            SETTLEMENT ORDER
                                             (LOCAL RULE 111)


           This Court has been advised by the parties that the above action has been settled,

including all counterclaims, cross-claims and third-party claims, if any. Accordingly, pursuant to

Local Rule 111 it is ORDERED that:

           This action is hereby dismissed and each party is to bear its own costs unless otherwise

agreed, in which event the costs shall be adjusted between the parties in accordance with their

agreement. The entry of this Order is without prejudice to the right of a party to move for good

cause within 30 days to reopen this action if settlement is not consummated. If no party moves

to reopen, the dismissal shall be with prejudice.




Date: September 27, 2011                                     /s/
                                                         BETH P. GESNER
                                                         UNITED STATES MAGISTRATE JUDGE



U.S. District Court (Rev. 9/29/2004)
